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Claudia Wilner

From:                               Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
Sent:                               Thursday, July 18, 2019 8:12 PM
To:                                 Darius Charney
Cc:                                 Claudia Wilner; Travis England
Subject:                            RE: BLRR v City of Buffalo


Again, we agree on the dates and steps discussed and specifically outlined in our conference. Nothing in the email I just
sent changes that, as I said 2 times (for that extra emphasis). I noted my disagreement with the
characterization/argument/language set forth in your email in what I though was a pretty straight forward manner. I
don’ think tis additional email was necessary. I’m going to proceed exactly as we discussed. I don’t see the point in
wasting the court’s time, and will reiterate all of this if you want to.

In a further effort to make it clear why I do not think this is an actual dispute, my specific responses are contained in the
body of your email. Apologize for any typographical errors, tried to respond quickly.

My direct extension is (716) 851‐4326 if any of this, or my prior email, was unclear.

From: Darius Charney [mailto:dcharney@ccrjustice.org]
Sent: Thursday, July 18, 2019 7:25 PM
To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
Cc: Claudia Wilner <wilner@nclej.org>; Travis England <england@nclej.org>
Subject: Re: BLRR v City of Buffalo

Rob-

Do you at least agree with steps 1 through 3(b) as I have outlined them(I agree with the steps I proposed and we
discussed, and which the numbered steps generally reflect if you take away the characterization and
argument. I don’t think we’re deciding relevancy, and I don’t think the only two options are all or portions of
the IAD files. Everyone is reserving arguments, we’re just trying to narrow issues, which probably will have to
be presented to the court, as contemplated by these steps, with the slight distinction about an in camera)?
Because if not, then we (plaintiffs) do not see the point of continuing with this process and would rather just go
to the court for rulings on (1) which IA complaints are relevant and thus must be produced to plaintiffs (I think
this what we are trying to get to, the point was to narrow that so as not to burden the court and waste anyone’s
time), since, as we and the court have already said, 50a in no way bars discovery of relevant materials in a
federal civil rights litigation (I think you’re conflating 50a with relevancy so not sure how to respond to this, but
I reiterate my objection to you continuously bringing up 50a as a straw man), and (2) whether plaintiffs are
entitled to all or part of the files for the relevant IA complaints (again, this is essentially what we are trying to
get to, point was to get a better idea of the materials and narrow the issues).

As you know, we requested these IA materials 8 months ago and tried to resolve any potential 50a concerns
with you 9 months ago, which you were totally unwilling to do (and in fact said it was not necessary at that
time) (This is rhetoric and not accurate. I’ve stated my position to you on 50a countless times, including options
on how it is generally and can be specifically resolved). Steps 1 to 3 as we have outlined them (and which we
thought you agreed to on our call today)(I agreed to what was discussed on our call today, and disagreed with
the characterization put in your email, which is exactly what my email says and is reiterated here) are designed
precisely to narrow down the universe of complaints that the court would have to deal with in resolving your
objections to our discovery requests (on this, we can agree).
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So please indicate whether you agree with Steps 1 through 3 as I have outlined them (I agree to what we
discussed and which these steps generally reflect with the objections to the characterization/argument/language
I’ve outlined).

Sent from my iPhone

On Jul 18, 2019, at 7:02 PM, Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us> wrote:

       “Traffic Stop” attached.

       Dates are what we discussed. Characterization is off, unnecessary, and appears to be an attempt to
       make arguments. This is no way affects what I told you we would do, or what I expect you will do, but
       I’ll address it in an attempt to clarify, expedite, and hopefully avoid future disputes.

       As I stated, don’t think we are determining relevancy at this point. We are also not conceding you
       would be entitled to any portions of the IAD files, at this point, and we have raised objections to that
       effect. This process is designed to get everyone to the point where we can narrow the materials, have a
       better idea of the universe of documents, and concisely present to the court as needed, with the
       opportunity to make all available arguments, and ultimately to move forward with a clearer idea of the
       issues in a reasonable manner.

       The in camera process is dependent on too many things to decide for certain at this point, most
       significant being the court’s time and discretion, but absolutely would be something to discuss and
       consider with all the other issues after we narrow down the number of “complaints” and have a better
       idea of the burden and materials.

       Again, none of this impacts or changes the proposals we discussed in any way. Let me know if you have
       any questions, but hopefully this is pretty straight forward. Thanks.

       From: Darius Charney [mailto:dcharney@ccrjustice.org]
       Sent: Thursday, July 18, 2019 4:45 PM
       To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
       Cc: Claudia Wilner <wilner@nclej.org>; Travis England <england@nclej.org>
       Subject: Re: BLRR v City of Buffalo

       Great, thanks for letting us know.

       Also, we just wanted to make sure we're on the same page about what the process will be moving
       forward on the IA complaint discovery. Please let us know if this accurately reflects what we
       discussed on the phone earlier today:

       1. Today to Tomorrow- Rob sends Excel spreadsheet with the summaries of the 180 "Traffic
       Stop" IA complaints

       2. Wed, 7/24- Plaintiffs send the list of IA complaints from each of the Excel Spreadsheets that
       we believe are relevant to our claims

       3. Mon, 7/29-
          (a) Rob indicates which of the IA complaints that Plaintiffs flagged as relevant do Defendants
       agree are relevant and which do defendants do not think are relevant

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    (b) Rob indicates whether Plaintiffs are entitled to (i) the entire case file for each relevant IA
complaint OR (ii) only certain portions and identifies those portions of the case files which
Plaintiffs are not entitled to and why

4. Thereafter, parties will submit to the Court all of the complaints that the parties agree are
relevant as well as those that there is dispute over relevance. We will ask the Court to conduct in
camera review of those complaints for which there is a dispute over relevance to determine
which are relevant and must be produced to plaintiffs. In addition, if there is a dispute over
which portions of the case files of each relevant IA complaint must be produced to plaintiffs, the
parties will make our respective arguments in support of our respective positions to the Court
and ask the Court to rule on the issue. The Court may at its own discretion review the IA
complaints that the parties already agree are relevant, but we will not ask the Court to conduct
that in camera review.

Darius

On Thu, Jul 18, 2019 at 3:10 PM Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us> wrote:

 Should be able to finish “Traffic Stop” by the end of today.



 From: Darius Charney [mailto:dcharney@ccrjustice.org]
 Sent: Thursday, July 18, 2019 12:10 PM
 To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
 Cc: Claudia Wilner <wilner@nclej.org>; Travis England <england@nclej.org>
 Subject: Re: BLRR v City of Buffalo




 Rob-



 I sent you a calendar invite for a call at 12:15. In case you didn't receive it or cannot open it,
 here is the conference line we're going to use:



 1-800-298-6863

 PIN: 6141000#




 On Wed, Jul 17, 2019 at 6:39 PM Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us> wrote:

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